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 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     REGENTS OF UNIVERSITY OF CA                                   3:17-cv-05211
                                                     )   Case No: _______________
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
             v.
                                                     )   PRO HAC VICE
 6   DEPT. OF HOMELAND SECURITY                      )   (CIVIL LOCAL RULE 11-3)
                                                     )
 7                                                   )
                                     Defendant(s).
                                                     )
 8
        I, Megan A. Crowley                       , an active member in good standing of the bar of
 9    New York Court of Appeals    , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Regents of the University of California      in the
                                                                 Jeffrey M. Davidson
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      Covington & Burling LLP, One CityCenter, 850 Covington & Burling LLP, One Front Street
14    Tenth St., NW, Washington, D.C. 20001-4956   San Francisco, CA 94111-5356
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (202) 662-6000                                      (415) 591-6000
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    mcrowley@cov.com                                    jdavidson@cov.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 4930376      .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 09/13/17                                               Megan A. Crowley
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Megan A. Crowley                           is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:6HSWHPEHU
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 2012
